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April 1, 2021

VIA EMAIL

The Honorable David R. Strawbridge
United States Magistrate Judge
Eastern District of Pennsylvania
3030 U.S. Courthouse
601 Market Street
Philadelphia, PA 19106
Strawbridge_Chamber@paed.uscourts.gov

       RE:      UNITED STATES OF AMERICA, ex rel. SARAH BEHNKE vs.
                CVS CAREMARK CORPORATION, et al., CA No. 14-cv-00824


Dear Judge Strawbridge:

        With respect to the settlement call currently calendared for April 5th at 4:15 pm, Plaintiff-Relator
respectfully requests that the call be adjourned until late April/early May, at Your Honor’s
convenience. The parties are heavily engaged in document discovery and will be starting depositions
relatively soon and we do not believe that a settlement call at this time would be productive.
       I spoke today with defense counsel, Daniel Dockery of Williams & Connolly, and defendants do
not oppose this request.
       Thank you very much for your consideration in this regard.
                                                             Respectfully submitted,


                                                             /s/ Susan Schneider Thomas
                                                             Susan Schneider Thomas
cc: Daniel M. Dockery
    Enu A. Mainigi
    Holly M. Conley
    Craig D. Singer
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